Case 2:11-cr-00001   Document 421   Filed 09/11/12   Page 1 of 7 PageID #: 2318
Case 2:11-cr-00001   Document 421   Filed 09/11/12   Page 2 of 7 PageID #: 2319
Case 2:11-cr-00001   Document 421   Filed 09/11/12   Page 3 of 7 PageID #: 2320
Case 2:11-cr-00001   Document 421   Filed 09/11/12   Page 4 of 7 PageID #: 2321
Case 2:11-cr-00001   Document 421   Filed 09/11/12   Page 5 of 7 PageID #: 2322
Case 2:11-cr-00001   Document 421   Filed 09/11/12   Page 6 of 7 PageID #: 2323
Case 2:11-cr-00001   Document 421   Filed 09/11/12   Page 7 of 7 PageID #: 2324
